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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION


UNITED STATES OF AMERICA §
                         §                         Criminal No. 24-CR-00298
V.                       §
                         §
EITHAN HAIM              §
                         §

                             [PROPOSED] ORDER

      Pending before the Court is the Motion to Intervene and Opposition to

USA’s Motion for Issuance of a Gag Order filed by X Corp. Having considered

the motions, submissions, and applicable law, the Court determines that the

motions should be granted. Accordingly, the Court hereby:

      ORDERS that X Corp.’s Motion to Intervene for the limited purpose of

opposing the USA’s Motion for Issuance of a Gag Order is GRANTED, and

      ORDERS that USA’s Motion for Issuance of a Gag Order is DENIED.

SO ORDERED.



                                                   _______________________
                                                   Hon. David Hittner
                                                   United States District Judge

Date: ___________________
